
PER CURIAM.
We affirm the trial court’s entry of a temporary injunction restraining the appellant from operating a business in competition with the appellees. We do so because the record contains some evidence that the appellant’s agreement not to compete was given in exchange for the purchase of all of appellant’s stock in a corporation purchased by appellees. See § 542.33(2), Fla. Stat. (1985). In affirming, however, we emphasize that the restraining order is temporary and is subject to the conclusions of law and findings of fact made by the trial court at trial when the parties will have a full opportunity to present their legal positions and proof, including the arguments made in this appeal.
HERSEY, C.J., and ANSTEAD and LETTS, JJ., concur.
